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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


    In re:                                                   Chapter 11

    EIGER BIOPHARMACEUTICALS, INC., et                       Case No. 24-80040 (SGJ)
    al. 1
                                                             (Jointly Administered)
                            Debtors.


              SCHEDULES OF ASSETS AND LIABILITIES OF
DEBTOR EIGER BIOPHARMACEUTICALS EUROPE LIMITED (CASE NO. 24-80043)




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     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
     identification number, are: Eiger BioPharmaceuticals, Inc. (1591); EBPI Merger Inc. (9986); EB Pharma LLC
     (8352); Eiger BioPharmaceuticals Europe Limited (N/A); and EigerBio Europe Limited (N/A). The Debtors’
     service address is 2100 Ross Avenue, Dallas, Texas 75201.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                         Chapter 11

    EIGER BIOPHARMACEUTICALS, INC., et                             Case No. 24-80040 (SGJ)
    al. 1
                                                                   (Jointly Administered)
                               Debtors.


          GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
METHODOLOGY, AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
  OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

       On April 1, 2024 (the “Petition Date”), Eiger BioPharmaceuticals, Inc. and its affiliated
debtors in the above-captioned chapter 11 cases (each a “Debtor” and, collectively, the “Debtors”)
commenced voluntary cases (the “Chapter 11 Cases”) under chapter 11 of title 11, United States
Code, §§ 101 et seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Northern District of Texas (the “Court”).

       The Debtors continue to operate their businesses and manage their properties as debtors
and debtors in possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The
Chapter 11 Cases have been consolidated for procedural purposes only and are being jointly
administered under case number 24-80040 (SGJ).

       The Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements”) were prepared pursuant to section 521 of the Bankruptcy Code and
Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by
management of the Debtors with unaudited information available as of the Petition Date.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding the Debtors’ Schedules and Statements of Financial Affairs (the “Global Notes”) are
incorporated by reference in, and comprise an integral part of, each Debtor’s respective Schedules
and Statements, and should be referred to and considered in connection with any review of the
Schedules and Statements.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. The Debtors, and

1    The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
     number, are: Eiger BioPharmaceuticals, Inc. (1591); EBPI Merger Inc. (9986); EB Pharma LLC (8352); Eiger
     BioPharmaceuticals Europe Limited (N/A); and EigerBio Europe Limited (N/A). The Debtors’ service address
     is 2100 Ross Avenue, Dallas, Texas 75201.
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their agents, attorneys, and advisors do not guarantee or warrant the accuracy or completeness of
the data that is provided herein, and shall not be liable for any loss or injury arising out of or caused
in whole or in part by the acts, errors, or omissions, whether negligent or otherwise, in procuring,
compiling, collecting, interpreting, reporting, communicating, or delivering the information
contained herein. While reasonable efforts have been made to provide accurate and complete
information herein, inadvertent errors or omissions may exist. The Debtors reserve their rights to
amend and supplement the Schedules and Statements as may be necessary or appropriate. For the
avoidance of doubt, the Debtors and their agents, attorneys, and advisors expressly do not
undertake any obligation to update, modify, revise, or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised, or
re-categorized, except as required by applicable law. In no event shall the Debtors, or their agents,
attorneys, and advisors, be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, or advisors are advised of the possibility of such damages.

        Given, among other things, the uncertainty surrounding the valuation and nature of certain
assets and liabilities, to the extent that a Debtor shows more assets than liabilities, this is not an
admission that such Debtor was solvent on the Petition Date or at any time prior to the Petition
Date. Likewise, to the extent that a Debtor shows more liabilities than assets, it is not an admission
that such Debtor was insolvent on the Petition Date or any time prior to the Petition Date.

        Douglas Staut has signed each set of the Schedules and Statements. Mr. Staut serves as
the Chief Restructuring Officer (“CRO”) of the Debtors, and he is an authorized signatory for each
of the Debtors in these Chapter 11 Cases. In reviewing and signing the Schedules and Statements,
Mr. Staut has necessarily relied upon the efforts, statements, advice, and representations of the
Debtors and their advisors. Mr. Staut has not (and could not have) personally verified the accuracy
of each such statement and representation, including statements and representations concerning
amounts owed to creditors, classification of such amounts, and creditor addresses.

                           Global Notes and Overview of Methodology

        1.     In the ordinary course of business, the Debtors routinely engage in intercompany
transactions (collectively, the “Intercompany Transactions”) with one another, which result in
intercompany receivables and payables (collectively, the “Intercompany Claims”). Intercompany
Transactions and Intercompany Claims arise from relationships and historical practice, or certain
intercompany agreements and intercompany loans (collectively, the “Intercompany Relationships”
or “Intercompany Agreements”) to support operations and shared service functions, including
product development services, software sales, software licensing, provision of management
services, revenue sharing arrangements, back-office support transactions and intercompany loan
and interest payments. The Debtors manually track and allocate receivables and payables across
the corporate enterprise.

       2.     EB Pharma LLC. EB Pharma LLC (“EB Pharma”) is a wholly-owned subsidiary
of Eiger BioPharmaceuticals, Inc. (“Eiger”), which is the primary operating entity. EB Pharma
had no operations in the year prior to the Petition Date other than tax filings. EB Pharma has no


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sales receipts. All vendors supporting its tax filings are paid by Eiger. Accordingly, the Debtors
have reported the only assets owned by EB Pharma, which includes licenses and interests in
insurance policies. The Debtors reserve all rights to amend and supplement the Schedules and
Statements as may be necessary or appropriate.

        3.      Eiger BioPharmaceuticals Europe Limited. Eiger BioPharmaceuticals Europe
Limited (“Eiger BioPharmaceuticals Europe”) is a wholly-owned subsidiary of Eiger. Eiger
BioPharmaceuticals Europe had no operations in the year prior to the Petition Date other than tax
filings. Eiger BioPharmaceuticals Europe has no sales receipts. All vendors supporting its tax
filings are paid by Eiger. The Debtors reserve all rights to amend and supplement the Schedules
and Statements as may be necessary or appropriate.

        4.     EBPI Merger Inc. EBPI Merger Inc. (“EBPI Merger”) is a wholly-owned
subsidiary of Eiger. EBPI Merger had no operations in the year prior to the Petition Date other
than tax filings. EBPI Merger has no sales receipts. Tax liabilities for EBPI Merger are paid
through Eiger’s operating accounts. Accordingly, the Debtors have reported the only assets owned
by EBPI Merger, which includes intellectual property and interests in insurance policies or
annuities. The Debtors reserve all rights to amend and supplement the Schedules and Statements
as may be necessary or appropriate.

       5.      EigerBio Europe Limited. EigerBio Europe Limited (“EigerBio Europe”) is a
wholly-owned subsidiary of Eiger. EigerBio Europe incurs rent and other operating expenses.
Cash collections from any sales in Germany are deposited into EigerBio Europe’s bank account.
The Debtors have reported the assets owned by EigerBio Europe. The Debtors reserve all rights
to amend and supplement the Schedules and Statements as may be necessary or appropriate.

        6.      Reservations and Limitations. Reasonable efforts have been made to prepare and
file complete and accurate Schedules and Statements; however, as noted above, inadvertent errors
or omissions may exist. The Debtors reserve all rights to amend and supplement the Schedules
and Statements as may be necessary or appropriate. Nothing contained in the Schedules and
Statements constitutes a waiver of any of the Debtors’ rights or an admission of any kind with
respect to these Chapter 11 Cases, including, but not limited to, any rights or claims of the Debtors
against any third party or issues involving substantive consolidation, equitable subordination, or
defenses or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code or
any other relevant applicable bankruptcy or non-bankruptcy laws to recover assets or avoid
transfers. Any specific reservation of rights contained elsewhere in the Global Notes does not
limit in any respect the general reservation of rights contained in this paragraph.

       (a)     No Admission. Nothing contained in the Schedules and Statements is intended or
               should be construed as an admission or stipulation of the validity of any claim
               against the Debtors, any assertion made therein or herein, or a waiver of the
               Debtors’ rights to dispute any claim or assert any cause of action or defense against
               any party.

       (b)     Recharacterization. Notwithstanding that the Debtors have made reasonable
               efforts to correctly characterize, classify, categorize, or designate certain claims,
               assets, executory contracts, unexpired leases, and other items reported in the



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            Schedules and Statements, the Debtors nonetheless may have improperly
            characterized, classified, categorized, or designated certain items. The Debtors
            reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
            reported in the Schedules and Statements at a later time as is necessary and
            appropriate, including, without limitation, whether contracts or leases listed herein
            were deemed executory or unexpired as of the Petition Date and remain executory
            and unexpired post-petition. Disclosure of information in one or more Schedules,
            Statements, or one or more exhibits or attachments thereto, even if incorrectly
            placed, shall be deemed to be disclosed in the correct Schedules, Statements,
            exhibits, or attachments.

      (c)   Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
            Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
            “executory” or “unexpired” does not constitute an admission by the Debtors of the
            legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
            rights to recharacterize or reclassify such claim or contract or to setoff such claim.

      (d)   Claims Description. Any failure to designate a claim on the Debtors’ Schedules
            and Statements as “disputed,” “contingent,” or “unliquidated” does not constitute
            an admission by the Debtors that such amount is not “disputed,” “contingent,” or
            “unliquidated.” Each Debtor reserves all rights to dispute, or assert offsets or
            defenses to, any claim reflected on its respective Schedules and Statements on any
            grounds, including, without limitation, liability, or classification, or to otherwise
            subsequently designate such claims as “disputed,” “contingent,” or “unliquidated”
            or object to the extent, validity, enforceability, or priority of any claim. Moreover,
            listing a claim does not constitute an admission of liability by the Debtors against
            which the claim is listed or by any of the Debtors. The Debtors reserve all rights
            to amend their Schedules and Statements as necessary and appropriate, including,
            but not limited to, with respect to claim description and designation.

      (e)   Estimates and Assumptions. The preparation of the Schedules and Statements
            required the Debtors to make reasonable estimates and assumptions with respect to
            the reported amounts of assets and liabilities, the amount of contingent assets and
            contingent liabilities on the Schedules and Statements, and the reported amounts of
            revenues and expenses during the applicable reporting periods. Actual results could
            differ from such estimates.

      (f)   Causes of Action. Despite reasonable efforts, the Debtors may not have identified
            all current and potential causes of action the Debtors may have against third parties
            in their respective Schedules and Statements, including, without limitation,
            avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
            other relevant bankruptcy and non-bankruptcy laws to recover assets. The Debtors
            reserve all rights with respect to any causes of action, and nothing in these Global
            Notes or the Schedules and Statements should be construed as a waiver of any such
            causes of action.




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      (g)    Intellectual Property Rights. Exclusion of certain intellectual property from the
             Schedules and Statements should not be construed as an admission that such
             intellectual property rights have been abandoned, have been terminated or
             otherwise expired by their terms, or have been assigned or otherwise transferred
             pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
             intellectual property rights in the Schedules and Statements should not be construed
             as an admission that such intellectual property rights have not been abandoned,
             have not been terminated or otherwise expired by their terms, or have not been
             assigned or otherwise transferred pursuant to a sale, acquisition, or other
             transaction.

      (h)    Executory Contracts and Unexpired Leases. Although the Debtors made
             diligent efforts to identify contracts and unexpired leases as executory within the
             scope of section 365 of the Bankruptcy Code and to attribute an executory contract
             to its rightful Debtors, in certain instances, the Debtors may have inadvertently
             failed to do so due to the complexity and size of the Debtors’ businesses.
             Accordingly, the Debtors reserve all of their rights with respect to the inclusion or
             exclusion of executory contracts and unexpired leases, as well as the named parties
             to any and all executory contracts and unexpired leases, including the right to
             amend Schedule G at any time during the pendency of these Chapter 11 Cases.

      (i)    Insiders. In the circumstance where the Schedules and Statements require
             information regarding “insiders,” the Debtors have included information with
             respect to certain individuals who served as officers and directors, as the case may
             be, during the relevant time periods. Such individuals may no longer serve in such
             capacities.

             The listing or omission of a party as an insider for purposes of the Schedules and
             Statements is not intended to be, nor should it be, construed as an admission of any
             fact, right, claim, or defense and all such rights, claims, and defenses are hereby
             expressly reserved. Information regarding the individuals listed as insiders in the
             Schedules and Statements has been included for informational purposes only and
             such information may not be used for: (i) the purposes of determining (A) control
             of the Debtors; (B) the extent to which any individual exercised management
             responsibilities or functions; (C) corporate decision-making authority over the
             Debtors; or (D) whether such individual could successfully argue that he or she is
             not an insider under applicable law, including the Bankruptcy Code and federal
             securities laws, or with respect to any theories of liability or (ii) any other purpose.

7.    Description of Cases and “As Of” Information Date. On April 1, 2024, or the Petition
      Date, each of the Debtors filed a voluntary petition for relief under chapter 11 of the
      Bankruptcy Code in the Court. The Debtors continue to operate their business. The
      information provided herein, except as otherwise noted, is reported as of the Petition Date
      of each respective Debtor, as appropriate.

8.    Methodology.




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      (a)   Basis of Presentation. The Schedules and Statements do not purport to represent
            financial statements prepared in accordance with Generally Accepted Accounting
            Principles in the United States (“GAAP”) nor are they intended to be fully
            reconciled to the financial statements of each Debtor. The Schedules and
            Statements contain unaudited information that is subject to further review and
            potential adjustment. The Schedules and Statements reflect the Debtors’
            reasonable efforts to report the assets and liabilities of each Debtor on an
            unconsolidated basis.

      (b)   Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
            may properly be disclosed in multiple parts of the Statements and Schedules. To
            the extent these disclosures would be duplicative, the Debtors have endeavored to
            only list such assets, liabilities, and prepetition payments once.

      (c)   Net Book Value. In certain instances, current market valuations for individual
            items of property and other assets are neither maintained by, nor readily available
            to the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
            and Statements reflect net book values as of the Petition Date. Market values may
            vary, in some instances, materially, from net book values. The Debtors believe that
            it would be an inefficient use of estate assets for the Debtors to obtain the current
            market values of their property. Accordingly, the Debtors have indicated in the
            Schedules and Statements that the market values of certain assets and liabilities are
            undetermined. Also, assets that have been fully depreciated or that were expensed
            for accounting purposes either do not appear in these Schedules and Statements, or
            are listed with a zero-dollar value, as such assets have no net book value. The
            omission of an asset from the Schedules and Statements does not constitute a
            representation regarding the ownership of such asset, and any such omission does
            not constitute a waiver of any rights of the Debtors with respect to such asset.

      (d)   Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
            or “undetermined” is not intended to reflect upon the materiality of such amount.

      (e)   Unliquidated Amounts. Amounts that could not be fairly quantified by the
            Debtors are scheduled as “unliquidated.”

      (f)   Totals. All totals that are included in the Schedules and Statements represent totals
            of all known amounts. To the extent there are unknown or undetermined amounts,
            the actual total may be different from the listed total.

      (g)   Paid Claims. The Debtors have authority to pay certain outstanding prepetition
            payables pursuant to various orders entered by the Court. The Debtors scheduled
            such amounts as of the Petition Date and noted such amounts as contingent. To the
            extent the Debtors later pay any amount of the claims listed in the Schedules and
            Statements pursuant to any orders entered by the Court, the Debtors reserve all
            rights to amend or supplement the Schedules and Statements or to take other action,
            such as filing claims objections, as is necessary and appropriate to avoid
            overpayment or duplicate payments for liabilities. Nothing contained herein should



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            be deemed to alter the rights of any party in interest to contest a payment made
            pursuant to an order of the Court where such order preserves the right to contest.

      (h)   Liens. The inventories, property, and equipment listed in the Schedules and
            Statements are presented without consideration of any liens.

      (i)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.
            Some bank accounts in EigerBio Europe may be held in Euro but converted to the
            U.S. Dollar equivalent as of the Petition Date.

      (j)   Liabilities. The Debtors have sought to allocate liabilities between the prepetition
            and postpetition periods based on the information and research conducted in
            connection with the preparation of the Schedules and Statements. As additional
            information becomes available and further research is conducted, the allocation of
            liabilities between the prepetition and postpetition periods may change. The
            Debtors reserve the right to amend the Schedules and Statements as they deem
            appropriate in this and all other regards.

      (k)   Excluded Assets and Liabilities. The Debtors have excluded certain categories of
            assets and liabilities from the Schedules and Statements, including, but not limited
            to: certain deferred charges, investments in subsidiaries, reserves recorded only for
            purposes of complying with the requirements of GAAP, and deferred tax assets,
            and deferred tax liabilities. The Debtors have also excluded rejection damage
            claims of counterparties to executory contracts and unexpired leases that may or
            may not be rejected, to the extent such damage claims exist. Other immaterial
            assets and liabilities may also have been excluded.

      (l)   Credits and Adjustments. The claims of individual creditors for, among other
            things, goods, products, services, or taxes are listed as the amounts entered on the
            Debtors’ books and records and may either (i) not reflect credits, allowances, or
            other adjustments due from such creditors to the Debtors or (ii) be net of accrued
            credits, allowances, or other adjustments that are actually owed by a creditor to the
            Debtors on a postpetition basis on account of such credits, allowances, or other
            adjustments earned from prepetition payments and critical vendor payments, if
            applicable. The Debtors reserve all of their rights with regard to such credits,
            allowances, or other adjustments, including, but not limited to, the right to modify
            the Schedules, assert claims objections and/or setoffs with respect to the same, or
            apply such allowances in the ordinary course of business on a postpetition basis.

      (m)   Setoffs. The Debtors may periodically incur setoffs and net payments in the
            ordinary course of business. Such setoffs and nettings may occur due to a variety
            of transactions or disputes. Although such setoffs and other similar rights may have
            been accounted for when scheduling certain amounts, these ordinary course setoffs
            are not independently accounted for, and as such, are or may be excluded from the
            Debtors’ Schedules and Statements. The Debtors reserve all rights to challenge any
            setoff and/or recoupment rights that may be asserted.




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9.    Global Notes Control. These Global Notes pertain to and comprise an integral part of
      each of the Schedules and Statements and should be referenced in connection with any
      review thereof. In the event that the Schedules and Statements conflict with these Global
      Notes, these Global Notes shall control.

10.   Specific Schedules Disclosures.

      (a)    Schedules Summary. Except as otherwise noted, the asset totals represent
             amounts as of the Petition Date and liability information provided herein represents
             the Debtors’ liabilities as of the Petition Date.

      (b)    Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and Interests
             in Incorporated and Unincorporated Businesses, including any Interest in an
             LLC, Partnership, or Joint Venture. Eiger’s ownership interests in subsidiaries
             have been listed in Schedule A/B, Part 4, as undetermined amounts on account of
             the fact that the fair market value of such ownership is dependent on numerous
             variables and factors, and may differ significantly from their net book value.

      (c)    Schedule A/B, Part 5 – Inventory. The Debtors’ products have three- or four-
             year shelf lives. The Debtors’ inventory is managed by third parties.

      (d)    Schedule A/B, Part 7 – Office furniture, fixtures, and equipment; and
             collectibles. The Debtors have used book values as of April 1, 2024 for reporting
             office furniture and equipment. There have been no valuations on any of such
             assets. These amounts may include leasehold improvements. The Debtors reserve
             all of their rights to re-categorize and/or re-characterize such asset holdings to the
             extent the Debtors determine that such holdings were improperly listed.

      (e)    Schedule A/B, Part 9 – Real Property. The Debtors lease all of their real
             properties and, as such, the leased properties’ value have been marked as
             undetermined. Furthermore, certain of the property leases reflected on Schedule
             A/B 55 may contain renewal options, guarantees of payment, options to purchase,
             rights of first refusal, rights to lease additional lands, and other miscellaneous
             rights. Such rights, powers, duties, and obligations are not separately set forth on
             Schedule A/B 55. The Debtors hereby expressly reserve the right to assert that any
             instrument listed on Schedule A/B 55 is an executory contract or unexpired lease
             within the meaning of section 365 of the Bankruptcy Code. The Debtors reserve
             all of their rights, claims, and causes of action with respect to claims associated
             with any contracts and agreements listed on Schedule A/B 55, including their right
             to dispute or challenge the characterization or the structure of any transaction,
             document, or instrument, including any intercompany agreement.

      (f)    Schedule A/B, Part 10 – Intangibles and Intellectual Property. The value of the
             Debtors’ intangible assets is listed as undetermined. The Debtors are not able to
             provide a schedule with values specific to its intellectual property (including but
             not limited to, patents, trademarks, internet domains, and licenses).




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      (g)   Schedule A/B, Part 11 – All Other Assets. Eiger has incurred significant net
            operating losses (“NOLs”) and research and development credits (“R&D Credits”)
            (together, the “Tax Attributes”) since its inception. As of December 31, 2023, Eiger
            has generated federal NOLs of $322.5 million. The Debtors also has $47.1 million
            of state NOLs, $15.5 million of federal orphan drug tax credits, $4.0 million of state
            R&D Credits and $1.6 million of federal R&D Credits. Further, the Debtors
            estimate that they may generate additional Tax Attributes in the 2024 tax year.
            Such Tax Attributes have not been valued as of the Petition Date and may be
            restricted in their use.

      (h)   Schedule D – Creditors Who Have Claims Secured by Property. The Debtors
            have made reasonable efforts to report all secured claims against the Debtors on
            Schedule D based on the Debtors’ books and records as of the Petition Date.
            However, the actual value of claims against the Debtors may vary significantly
            from the represented liabilities. Parties in interest should not accept that the listed
            liabilities necessarily reflect the correct amount of any secured creditor’s allowed
            claims or the correct amount of all secured claims. Similarly, parties in interest
            should not anticipate that recoveries in these cases will reflect the relationship of
            the aggregate asset values and aggregate liabilities set forth in the Schedules.
            Parties in interest should consult their own professionals and advisors with respect
            to pursuing a claim. Although the Debtors and their professionals have generated
            financial information and data the Debtors believe to be reasonable, actual
            liabilities (and assets) may deviate significantly from the Schedules due to certain
            events that occur throughout these Chapter 11 Cases.

            Except as specifically stated herein, lessors of real property and equipment, utility
            companies, and any other parties which may hold security deposits or other security
            interests, have not been listed on Schedule D. The Debtors have also not listed on
            Schedule D any parties whose claims may be secured through rights of setoff,
            deposits, or advance payments.

            Although the Debtors may have scheduled claims of various creditors as secured
            claims, the Debtors reserve all rights to dispute or challenge the secured nature of
            any creditor’s claim or the characterization of the structure of any transaction or
            any document or instrument (including, without limitation, any intercompany
            agreement) related to such creditor’s claim (except as otherwise agreed to or stated
            pursuant to a stipulation, agreed order, or general order entered by the Bankruptcy
            Court that is or becomes final). The Debtors have not included on Schedule D the
            claims of any parties that may believe their claims are secured through setoff rights
            or inchoate statutory lien rights.

            The descriptions provided on Schedule D are intended only as a summary.
            Reference to the applicable loan agreements and related documents is necessary for
            a complete description of the collateral and the nature, extent, and priority of any
            liens. Nothing in these Global Notes or in the Schedules and Statements shall be
            deemed a modification, interpretation, or an acknowledgment of the terms of such
            agreements or related documents.


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      (i)   Schedule E/F – Creditors Who Have Unsecured Claims.

            The Debtors have made reasonable efforts to report all priority and general
            unsecured claims against the Debtors on Schedule E/F based on the Debtors’ books
            and records as of the Petition Date. However, the actual value of claims against the
            Debtors may vary significantly from the represented liabilities. Certain claims on
            E/F may have been satisfied post-petition by the Debtors (including employee
            wages in the ordinary course) or third parties. Furthermore, accrued interest for
            some claims may not have been possible to determine. Parties in interest should
            not accept that the listed liabilities necessarily reflect the correct amount of any
            unsecured creditor’s allowed claims or the correct amount of all unsecured claims.
            Similarly, parties in interest should not anticipate that recoveries in these cases will
            reflect the relationship of the aggregate asset values and aggregate liabilities set
            forth in the Schedules. Parties in interest should consult their own professionals
            and advisors with respect to pursuing a claim. Although the Debtors and their
            professionals have generated financial information and data the Debtors believe to
            be reasonable, actual liabilities (and assets) may deviate significantly from the
            Schedules due to certain events that occur throughout these Chapter 11 Cases.

            The claims listed on Schedule E/F arose or were incurred on various dates. In
            certain instances, the date on which a claim arose may be unknown or subject to
            dispute. Although reasonable efforts have been made to determine the date upon
            which claims listed in Schedule E/F were incurred or arose, updating that date for
            each claim in Schedule E/F would be unduly burdensome and cost-prohibitive and,
            therefore, the Debtors have not listed a date for each claim listed on Schedule E/F.

            In the ordinary course of business, the Debtors generally receive invoices for goods
            and services after the delivery of such goods or services. As of the filing of the
            Schedules and Statements, the Debtors may not have received all invoices for
            payables, expenses, or liabilities that may have accrued before the Petition Date.
            Furthermore, payments to vendors and lienholders made subsequent to the filing of
            these Schedules will not be reflected in these Schedules. The Debtors reserve the
            right, but are not required, to amend Schedules E/F if they receive such invoices
            and/or make such payments. The claims of individual creditors are generally listed
            at the amounts recorded on the Debtors’ books and records and may not reflect all
            credits or allowances due from the creditor. The Debtors reserve all of their rights
            concerning credits or allowances.

            Part 1 - Creditors with Priority Unsecured Claims. The Debtors included certain
            claims related to severance. The Debtors also included certain claims owing to
            various taxing authorities to which the Debtors may be liable. Priority unsecured
            tax claims are listed as contingent since they have been paid through first day relief.




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            Moreover, the inclusion of any amounts owed to taxing authorities does not
            constitute an admission by the Debtors of such liability.

            The Debtors reserve the right to assert that any claim listed on Schedule E/F does
            not constitute a priority claim under the Bankruptcy Code.

            Part 2 - Creditors with Nonpriority Unsecured Claims. The Debtors have used
            reasonable efforts to report all general unsecured claims against the Debtors in
            Schedule E/F, Part 2, based upon the Debtors’ books and records as of the Petition
            Date. The Debtors made a reasonable attempt to set forth their unsecured
            obligations, although the actual amount of claims against the Debtors may vary
            from those liabilities represented on Schedule E/F, Part 2. The listed liabilities,
            which have been listed on a gross accounts payable basis, may not reflect the correct
            amount of any unsecured creditor’s allowed claims or the correct amount of all
            unsecured claims.

            Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
            to executory contracts and unexpired leases. Such prepetition amounts, however,
            may be paid in connection with the assumption or assumption and assignment of
            an executory contract or unexpired lease. Prepetition amounts that may be paid in
            accordance with court orders, are marked as contingent. In addition, Schedule E/F,
            Part 2, does not include claims that may arise in connection with the rejection of
            any executory contracts and unexpired leases, if any, that may be or have been
            rejected.

      (j)   Schedule G – Executory Contracts and Unexpired Leases. The Debtors hereby
            reserve all rights to dispute the validity, status, or enforceability of any contracts,
            agreements or leases set forth in Schedule G and to amend or supplement
            Schedule G as necessary. Additionally, the placing of a contract or lease onto
            Schedule G shall not be deemed an admission that such contract is an executory
            contract or unexpired lease, or that it is necessarily a binding, valid, and enforceable
            contract. Any and all of the Debtors’ rights, claims and causes of action with
            respect to the contracts and agreements listed on Schedule G are hereby reserved
            and preserved. In addition, the Debtors are continuing their review of all relevant
            documents and expressly reserve their right to amend all Schedules at a later time
            as necessary and/or to challenge the classification of any agreement as an executory
            contract or unexpired lease in any appropriate filing.

            The names of employees and consultants and other individuals have been redacted
            for privacy purposes.

            Certain information, such as the contact information or addresses of the
            counterparty, may not be included where such information could not be obtained
            using the Debtors’ reasonable efforts. Listing a contract or agreement on Schedule
            G does not constitute an admission that such contract or agreement is an executory
            contract or unexpired lease or that such contract or agreement was in effect on the
            Petition Date or is valid or enforceable. Expired contracts and leases may have also



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             been inadvertently included. The Debtors hereby reserve all of their rights to
             dispute the validity, status, or enforceability of any contracts, agreements, or leases
             set forth in Schedule G and to amend or supplement such Schedule as necessary.

             Certain of the leases and contracts listed on Schedule G may contain renewal
             options, guarantees of payment, indemnifications, options to purchase, rights of
             first refusal and other miscellaneous rights. Such rights, powers, duties, and
             obligations are not set forth separately on Schedule G. In addition, the Debtors may
             have entered into various other types of agreements in the ordinary course of their
             business, such as supplemental agreements and letter agreements, which documents
             may not be set forth in Schedule G. The Debtors reserve the right to dispute the
             effectiveness of any such contract listed on Schedule G or to amend Schedule G at
             any time to remove any contract.

             The Debtors have reserved all rights to dispute or challenge the characterization of
             any transaction or any document or instrument related to a creditor’s claim.

             Although the Debtors have made diligent attempts to attribute an executory contract
             to its rightful Debtor, in certain instances, the Debtors may have inadvertently failed
             to do so due to the complexity and size of the Debtors’ businesses. Accordingly,
             the Debtors reserve all of its rights with respect to the named parties of any and all
             executory contracts, including the right to amend Schedule G.

             Omission of a contract or agreement from Schedule G does not constitute an
             admission that such omitted contract or agreement is not an executory contract or
             unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
             any such omitted contract or agreement is not impaired by the omission. Certain
             Debtors are guarantors and parties to guaranty agreements regarding the Debtors’
             prepetition credit facility. The guaranty obligations arising under these agreements
             are reflected on Schedules D and F only.

11.   Specific Statements Disclosures.

      (a)    Statements, Part 1, Question 1 – Gross Revenue from business. The Debtors
             recognize GAAP revenue in accordance with ASC Topic 606, Revenue from
             Contracts with Customers (“ASC 606”). Under ASC 606, an entity recognizes
             revenue when its customer obtains control of promised goods or services in an
             amount that reflects the consideration which the entity expects to receive in
             exchange for those goods or services. The Debtors recognize product revenue when
             a customer obtains control of the Debtors’ product, which occurs at a point in time,
             typically upon delivery to a customer as the delivery of the product is the only
             performance obligation.

             The product is distributed through an exclusive third-party logistics, or 3PL,
             distribution agent that does not take title to the product. The 3PL distributes
             Zokinvy to the customers, specialty pharmacies and specialty distributors
             (collectively referred to as “customers”), who then distribute the product to



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            healthcare providers and patients. Taxes collected from the customer relating to
            product sales and remitted to governmental authorities are excluded from revenue.

            Revenues from product sales are recorded at the net sales price, or the transaction
            price, which includes estimates of variable consideration for which reserves are
            established and which result from discounts, returns, co-pay assistance,
            chargebacks, rebates, and other allowances that are offered within contracts
            between us and customers, healthcare providers and other indirect customers
            relating to the sale of Zokinvy. These reserves are based on the amounts earned or
            to be claimed on the related sales and are classified as reductions of accounts
            receivable or a current liability. Where appropriate, these estimates take into
            consideration a range of possible outcomes that are probability-weighted for
            relevant factors such as historical experience, current contractual and statutory
            requirements, specific known market events and trends, industry data and
            forecasted customer buying and payment patterns. Overall, these reserves reflect
            best estimates of the amount of consideration to which the Debtors are entitled
            based on the terms of the contract.

            The components of variable consideration related to product revenue were detailed
            in the Debtors’ Emergency Motion for Entry of Interim and Final Orders
            (I) Authorizing the Debtors to Honor and Continue Certain Customer Programs
            and Customer Obligations in the Ordinary Course of Business, and (II) Authorizing
            Banks to Honor and Process Checks and Electronic Transfer Requests Related
            Thereto [Docket No. 17] and are customary in the pharmaceutical industry.

      (b)   Statements, Part 2, Question 4 – Payments and Transfers to Certain Insiders
            within 1 year before the filing. The Debtors reported payments to non-officer and
            officer insiders within the year prior to the Petition Date. Out of an abundance of
            caution, payments made to Alvarez & Marsal are reported both on Statements
            Question 4 and Question 11 due to the firm’s relationship to the Debtors as Chief
            Restructuring Officer. Payments made to Danforth Advisors LLC are also included
            out of an abundance of caution due to the Chief Financial Officer’s involvement
            with the company. Payments made to Eiger Group International, Inc. are also
            included out of an abundance of caution due to a former Director’s involvement
            with the company. The Debtors reserve all rights with respect to the determination
            or status of a person as an “insider” as defined in section 101(13) of the Bankruptcy
            Code.

      (c)   Statements, Part 3, Question 7 – Legal Actions or Assignments. The Debtors
            have made reasonable best efforts to identify all current pending litigation and legal
            proceedings involving the Debtors. The Debtors reserve all of their rights and
            defenses with respect to any and all listed lawsuits and legal proceedings. The
            listing of such suits and proceedings shall not constitute an admission by the
            Debtors of any liabilities or that the actions or proceedings were correctly filed
            against the Debtors.




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      (d)   Statements, Part 4, Question 9 – Gifts or Charitable Contributions within 2
            years before the filing. Research grants are not considered in the context of this
            question. Research grants differ from a charitable contribution since both parties
            benefit.

      (e)   Statements, Part 9, Question 16 – Collect and Retain personally identifiable
            information of customers. The Debtors collect a limited amount of information
            about customers. Examples of the types of information collected by the Debtors
            include, among other things, name, mailing address, telephone number, email and
            addresses.

            Please see the Debtor’s privacy policy at https://www.eigerbio.com/privacy-
            policy/.

      (f)   Statements, Part 9, Question 17– ERISA Plan as an Employee Benefit. The
            Debtors sponsor a 401(k) plan for their employees.

      (g)   Statements, Part 10, Question 20 – Off-premises storage. The Debtors use
            certain third parties, including, for example, storage of product samples, raw
            materials, and finished goods. The Debtors perform inventory counts at Eiger to
            ensure accurate inventory records.

      (h)   Statements, Part 13, Question 25 – Businesses in Which the Debtors Have an
            Interest. Eiger BioPharmaceuticals, Inc. has a 100% interest in EB Pharma LLC,
            Eiger BioPharmaceuticals Europe Limited, EBPI Merger Inc., and EigerBio Europe
            Limited.

      (i)   Statements, Part 13, Question 26 – Books, records, and financial statements.
            The Debtors’ common stock was publicly traded on the Nasdaq stock exchange.
            As of April 11, 2024, the Debtor’s common stock was suspended from trading.
            Prior to the suspension of trading on the Nasdaq, the Debtors reported their
            financial results directly to the U.S. Securities and Exchange Commission
            (the “SEC”) for compliance with regulations. Because the SEC filings and the
            website are public record, the Debtors do not maintain records of the parties that
            requested or obtained copies of any of the SEC filings from the SEC or the debtors.

      (j)   Statements, Part 13, Question 27 – Inventories – Supervisor and Dates of
            Inventories Taken Within 2 years. The Debtors perform inventory counts of raw
            materials and finished goods inventories on an annual basis or as needed for
            operational reasons. The information included in response to Question 27 reflects
            the last five (5) inventory dates.

      (k)   Statements, Part 13, Question 28 and 29 – Current and Former Officer and
            Directors. While the Debtors have made reasonable best efforts to list all
            applicable officers and directors for each Debtor in response to Statement Questions
            28 and 29, some may have been omitted. Disclosures relate specifically to
            terminated job titles or positions and are not indicative of the individuals’ current
            employment status with the Debtors.


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      (l)   Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
            to Insiders. Refer to Statement Question 4 for this item.

                              *     *     *     *      *




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 Fill in this information to identify the case:

 Debtor name           Eiger BioPharmaceuticals Europe Limited

 United States Bankruptcy Court for the:               Northern District of Texas, Dallas Division


 Case number (If known):                24-80043 (SGJ)
                                                                                                                                                                                          ¨ Check if this is an
                                                                                                                                                                                              amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15


Part 1: Summary of Assets


 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
           Copy line 88 from Schedule A/B ................................................................................................................................
                                                                                                                                                                                         $                 0.00


     1b. Total personal property:
                                                                                                                                                                                         $       Undetermined
           Copy line 91A from Schedule A/B ..............................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                         $       Undetermined
           Copy line 92 from Schedule A/B ................................................................................................................................




Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                         $                 0.00
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..........................................


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                         $                 0.00
           Copy the total claims from Part 1 from line 5a of Schedule E/F .................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        + $                0.00
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .......................................................




 4. Total liabilities ...............................................................................................................................................................
                                                                                                                                                                                         $                 0.00
      Lines 2 + 3a + 3b




 *Plus Undetermined Amounts

   Official Form 206Sum                                           Summary of Assets and Liabilities for Non-Individuals                                                                           page 1
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   Fill in this information to identify the case:
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    Debtor name Eiger BioPharmaceuticals Europe Limited


    United States Bankruptcy Court for the: Northern District of Texas, Dallas Division
                                                                                                                                           ¨ Check if this is an
    Case number (If known) 24-80043 (SGJ)                                                                                                      amended filing



 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                         12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
 which the debtor holds rights and powers exercisable for the debtor 's own benefit. Also include assets and properties which have no book value, such as fully
 depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
 Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
 name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
 include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
 the value of secured claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and cash equivalents

 1. Does the debtor have any cash or cash equivalents?

    þ      No. Go to Part 2.
    ¨      Yes. Fill in the information below.

                                                                                                                                     Current value of debtor's
     All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                     interest

 2. Cash on hand                                                                                                                     $

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                        Type of account        Last 4 digits of account number

    3.1                                                                                                                              $

    3.2                                                                                                                              $


 4. Other cash equivalents (Identify all)

    4.1                                                                                                                              $

    4.2                                                                                                                              $


 5. Total of Part 1
                                                                                                                                     $                      0.00
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

    þ No.Go to Part 3.
                                                                                                                                     Current value of debtor's
    ¨ Yes. Fill in the information below.                                                                                            interest
 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1                                                                                                                              $
    7.2                                                                                                                              $



Official Form 206A/B                                       Schedule A/B: Assets - Real and Personal Property                                       Page 1
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 8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

     8.1                                                                                                                                $

     8.2                                                                                                                                $

 9. Total of Part 2.
                                                                                                                                        $                    0.00
     Add lines 7 through 8. Copy the total to line 81.


 Part 3: Accounts receivable

 10. Does the debtor have any accounts receivable?

     þ       No. Go to Part 4.
     ¨       Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
 11. Accounts receivable

         11a. 90 days old or less:                                                                                =   ......            $
                                       face amount                       doubtful or uncollectible accounts

         11b. Over 90 days old:                                                                                   =   ......            $
                                       face amount                       doubtful or uncollectible accounts

  12. Total of Part 3
                                                                                                                                        $                    0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


 Part 4:       Investments

  13. Does the debtor own any investments?

     þ       No. Go to Part 5.
     ¨       Yes. Fill in the information below.                                                              Valuation method         Current value of debtor's
                                                                                                              used for current value   interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:
     14.1                                                                                                                               $

     14.2                                                                                                                               $


 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
         Name of entity:                                                            % of ownership:
     15.1                                                                                             %                                 $

     15.2                                                                                             %                                 $



 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1

         Describe:
     16.1                                                                                                                               $

     16.2                                                                                                                               $



 17. Total of Part 4                                                                                                                    $                    0.00
         Add lines 14 through 16. Copy the total to line 83.




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                          Page 2
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 Part 5:       Inventory, excluding agriculture assets

 18. Does the debtor own any inventory (excluding agriculture assets)?

     þ       No. Go to Part 6.
     ¨       Yes. Fill in the information below.
         General Description                              Date of the last          Net book value of   Valuation method    Current value of
                                                          physical inventory        debtor's interest   used for current    debtor's interest
                                                                                    (Where available)   value

     19. Raw materials
                                                                                $                                           $
                                                               MM / DD / YYYY
     20. Work in progress
                                                                                $                                           $
                                                               MM / DD / YYYY
     21. Finished goods, including goods held for resale
                                                                                $                                           $
                                                               MM / DD / YYYY
     22. Other inventory or supplies

                                                                                $                                           $
                                                               MM / DD / YYYY

  23. Total of Part 5.
                                                                                                                            $                    0.00
         Add lines 19 through 22. Copy the total to line 84.

  24. Is any of the property listed in Part 5 perishable?
     þ       No
     ¨       Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed ?

     ¨       No
     ¨       Yes. Book value $                       Valuation method                           Current value $

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year ?

     þ       No
     ¨       Yes

 Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     þ       No. Go to Part 7.
     ¨       Yes. Fill in the information below.

         General Description                                                        Net book value of   Valuation method   Current value of debtor's
                                                                                    debtor's interest   used for current   interest
                                                                                    (Where available)   value

  28. Crops-either planted or harvested
                                                                                $                                           $

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                                $                                           $

  30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                                $                                           $

  31. Farm and fishing supplies, chemicals, and feed
                                                                                $                                           $

  32. Other farming and fishing-related property not already listed in Part 6
                                                                                $                                           $



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                               Page 3
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 33. Total of Part 6.
                                                                                                                        $                    0.00
         Add lines 28 through 32. Copy the total to line 85.

 34. Is the debtor a member of an agricultural cooperative?

    þ        No
    ¨        Yes. Is any of the debtor’s property stored at the cooperative?

           ¨       No
           ¨       Yes

 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ¨        No
    ¨        Yes. Book value $                       Valuation method                       Current value $

 36. Is a depreciation schedule available for any of the property listed in Part 6?

    þ        No
    ¨        Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year ?

    þ        No
    ¨        Yes

 Part 7:       Office furniture, fixtures, and equipment; and collectibles

 38 Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    þ        No. Go to Part 8.
    ¨        Yes. Fill in the information below.

         General Description                                                    Net book value of   Valuation method   Current value of debtor's
                                                                                debtor's interest   used for current   interest
                                                                                (Where available)   value

 39. Office furniture
                                                                                $                                       $

 40. Office fixtures
                                                                                $                                       $

 41. Office equipment, including all computer equipment and
     communication systems equipment and software
                                                                                $                                       $

 42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
     artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
     or baseball card collections; other collections, memorabilia, or collectibles
    42.1                                                                        $                                       $
    42.2                                                                        $                                       $
    42.3                                                                        $                                       $

 43. Total of Part 7.
                                                                                                                        $                    0.00
         Add lines 39 through 42. Copy the total to line 86.

 44. Is a depreciation schedule available for any of the property listed in Part 7?

    þ        No
    ¨        Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year ?

    þ        No
    ¨        Yes



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                           Page 4
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            Name



 Part 8:       Machinery, equipment, and vehicles

 46. Does the debtor own or lease any machinery, equipment, or vehicles?

     þ       No. Go to Part 9.
     ¨        Yes. Fill in the information below.
         General Description                                                       Net book value of   Valuation method   Current value of debtor's
         Include year, make, model, and identification numbers ( i.e., VIN,        debtor's interest   used for current   interest
         HIN, or N-number)                                                         (Where available)   value


 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1                                                                      $                                          $
     47.2                                                                      $                                          $
     47.3                                                                      $                                          $
     47.4                                                                      $                                          $


 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
     trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1                                                                      $                                          $
     48.2                                                                      $                                          $


  49. Aircraft and accessories
     49.1                                                                      $                                          $
     49.2                                                                      $                                          $


  50. Other machinery, fixtures, and equipment (excluding farm
      machinery and equipment)

                                                                               $                                          $



  51. Total of Part 8.
                                                                                                                          $                     0.00
         Add lines 47 through 50. Copy the total to line 87.


  52. Is a depreciation schedule available for any of the property listed in Part 8?
     þ        No
     ¨        Yes


  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     þ        No
     ¨        Yes




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                             Page 5
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 Part 9: Real property

 54. Does the debtor own or lease any real property?

     þ No. Go to Part 10.
     ¨ Yes. Fill in the information below.
  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
     Description and location of property                         Nature and extent           Net book value of   Valuation method        Current value of
     Include street address or other description such as          of debtor’s interest        debtor's interest   used for current        debtor's interest
     Assessor Parcel Number (APN), and type of property           in property                 (Where available)   value
     (for example, acreage, factory, warehouse, apartment
     or office building), if available.


     55.1                                                                                 $                                               $
     55.2                                                                                 $                                               $
     55.3                                                                                 $                                               $
     55.4                                                                                 $                                               $
     55.5                                                                                 $                                               $
     55.6                                                                                 $                                               $

  56. Total of Part 9.
                                                                                                                                          $                   0.00
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
  57. Is a depreciation schedule available for any of the property listed in Part 9?

     þ No
     ¨ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year ?

     þ No
     ¨ Yes
Part 10: Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?
     þ       No. Go to Part 11.
     ¨       Yes. Fill in the information below.

         General Description                                                           Net book value of     Valuation method        Current value of debtor's
                                                                                       debtor's interest     used for current        interest
                                                                                       (Where available)     value

  60. Patents, copyrights, trademarks, and trade secrets
                                                                                   $                                                  $

  61. Internet domain names and websites
                                                                                   $                                                  $

  62. Licenses, franchises, and royalties
                                                                                   $                                                  $

  63. Customer lists, mailing lists, or other compilations
                                                                                   $                                                  $

  64. Other intangibles, or intellectual property
                                                                                   $                                                  $

  65. Goodwill
                                                                                   $                                                  $

  66. Total of Part 10.
                                                                                                                                          $                   0.00
         Add lines 60 through 65. Copy the total to line 89.



Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                     Page 6
Debtor          Case 24-80043-sgj11
           Eiger BioPharmaceuticals Europe Limited   Doc 8        Filed 05/06/24 Entered 05/06/24   23:45:29
                                                                                              Case number              Desc(SGJ)
                                                                                                          (If known) 24-80043 Main
           Name                                                  Document     Page 24 of 34

  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     þ No
     ¨ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10 ?
     þ No
     ¨ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
Part 11: All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

     ¨ No. Go to Part 12.
     þ Yes. Fill in the information below.                                                                                               Current value of
                                                                                                                                         debtor's interest
  71. Notes receivable
         Description (include name of obligor)
         None                                                                                                                    =   $                   0.00
                                                                          Total Face Amount   Doubtful or uncollectible Amount

  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)
         None                                                                                                  Tax Year              $                   0.00
                                                                                                               Tax Year              $
                                                                                                               Tax Year              $

  73. Interests in insurance policies or annuities
                                                                                                                                     $          Undetermined

  74. Causes of action against third parties (whether or not a lawsuit
      has been filed)
         None                                                                                                                        $                   0.00

         Nature of Claim
         Amount Requested          $

  75. Other contingent and unliquidated claims or causes of action of
      every nature, including counterclaims of the debtor and rights to
      set off claims
         None                                                                                                                        $                   0.00

         Nature of Claim
         Amount Requested          $

  76. Trusts, equitable or future interests in property
         None                                                                                                                        $                   0.00

  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership
         None                                                                                                                        $                   0.00
                                                                                                                                     $

  78. Total of Part 11.
                                                                                                                                     $          Undetermined
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
  *Plus Undetermined Amounts


Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                   Page 7
                Case 24-80043-sgj11                            Doc 8         Filed 05/06/24 Entered 05/06/24 23:45:29 Desc Main
Debtor     Eiger BioPharmaceuticals Europe Limited                          Document     Page 25 of 34 Case number (If known) 24-80043 (SGJ)
           Name



 Part 12: Summary

 In Part 12 copy all of the totals from the earlier parts of the form.


                                                                                                            Current value of                     Current value
         Type of Property
                                                                                                            personal property                   of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $                   0.00

  81. Deposits and prepayments. Copy line 9, Part 2.                                                       $                   0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                           $                   0.00

  83. Investments. Copy line 17, Part 4.                                                                   $                   0.00

  84. Inventory. Copy line 23, Part 5.                                                                     $                   0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $                   0.00

  86. Office furniture, fixtures, and equipment; and collectibles.                                         $                   0.00
         Copy line 43, Part 7.
  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $                   0.00

  88. Real property. Copy line 56, Part 9. . ...............................................................................                    $0.00

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $                   0.00

  90. All other assets. Copy line 78, Part 11.                                                             $         Undetermined

  91. Total. Add lines 80 through 90 for each column..............................91a.                     $         Undetermined     + 91b.    $0.00




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92................................................................................................   $   Undetermined



  *Plus Undetermined Amounts




Official Form 206A/B                                                Schedule A/B: Assets - Real and Personal Property                                                    Page 8
          Case
Fill in this      24-80043-sgj11
             information               Doc
                         to identify the    8
                                         case:                            Filed 05/06/24 Entered 05/06/24 23:45:29                                   Desc Main
                                                                         Document     Page 26 of 34
Debtor name       Eiger BioPharmaceuticals Europe Limited

United States Bankruptcy Court for the:          Northern District of Texas, Dallas Division                                                          ¨ Check if this is an
                                                                                                                                                            amended filing
Case number (If known):         24-80043 (SGJ)


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
   þ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
   ¨ Yes. Fill in all of the information below.
Part 1: List Creditors Who Have Secured Claims
                                                                                                                                  Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                             Amount of Claim           Value of collateral
    secured claim, list the creditor separately for each claim.                                                                   Do not deduct the value   that supports this
                                                                                                                                  of collateral.            claim
     Creditor's name                                                Describe debtor’s property that is subject to a lien

                                                                                                                                  $                         $

     Creditor's mailing address


                                                                    Describe the lien



     Creditor's email address, if known                             Is the creditor an insider or related party?
                                                                    ¨ No
                                                                    ¨ Yes
     Date debt was incurred
                                                                    Is anyone else liable on this claim?
     Last 4 digits of account                                       ¨ No
     number
                                                                    ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in the
     same property?                                                 As of the petition filing date, the claim is:
                                                                    Check all that apply.
     ¨ No
     ¨ Yes. Specify each creditor, including this                   ¨ Contingent
          creditor, and its relative priority.                      ¨ Unliquidated
                                                                    ¨ Disputed
     Creditor's name                                                Describe debtor’s property that is subject to a lien

                                                                                                                                  $                         $
     Creditor's mailing address


                                                                    Describe the lien



     Creditor's email address, if known                             Is the creditor an insider or related party?
                                                                    ¨ No
                                                                    ¨ Yes
     Date debt was incurred
                                                                    Is anyone else liable on this claim?
     Last 4 digits of account                                       ¨ No
     number
                                                                    ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in the
     same property?                                                 As of the petition filing date, the claim is:
                                                                    Check all that apply.
     ¨ No
     ¨ Yes. Have you already specified the relative                 ¨ Contingent
          priority?                                                 ¨ Unliquidated
          ¨ No. Specify each creditor, including this               ¨ Disputed
                    creditor, and its relative priority.



          ¨ Yes. The relative priority of creditors is
                     specified on lines

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                              $




     Official Form 206D                                   Schedule D: Creditors Who Have Claims Secured by Property                                               Page 1 of 2
           Case 24-80043-sgj11                       Doc 8      Filed 05/06/24 Entered 05/06/24 23:45:29 Desc Main
 Debtor    Eiger BioPharmaceuticals Europe Limited                                  Case number (If known): 24-80043 (SGJ)
           Name
                                                               Document     Page 27 of 34

Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                         On which line in Part 1         Last 4 digits of
   Name and address                                                                                                      did you enter the               account number
                                                                                                                         related creditor?               for this entity


                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




    Official Form 206D                  Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 2 of 2
                 Case 24-80043-sgj11                  Doc 8           Filed 05/06/24 Entered 05/06/24 23:45:29                          Desc Main
                                               Document
   Fill in this information to identify the case:                                 Page 28 of 34

    Debtor        Eiger BioPharmaceuticals Europe Limited


    United States Bankruptcy Court for the:   Northern District of Texas, Dallas Division
                                                                                                                                            ¨ Check if this is an
    Case number       24-80043 (SGJ)                                                                                                              amended filing
    (If known)




 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
 claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets -
 Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the
 entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this
 form.


 Part 1:          List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    þ No. Go to Part 2.
    ¨ Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more
    than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                          Total claim         Priority amount
2.1 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is:   $                       $
                                                                      Check all that apply.
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                            Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                      ¨ No
    claim: 11 U.S.C. § 507(a) ()                                      ¨ Yes
2.2 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is:   $                       $
                                                                      Check all that apply.
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                            Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                      ¨ No
    claim: 11 U.S.C. § 507(a) ()                                      ¨ Yes
2.3 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is:   $                       $
                                                                      Check all that apply.
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                            Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                      ¨ No
    claim: 11 U.S.C. § 507(a) ()                                      ¨ Yes


  Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 1 of 4
  Debtor    Case     24-80043-sgj11
            Eiger BioPharmaceuticals              Doc 8
                                     Europe Limited        Filed 05/06/24 EnteredCase
                                                                                   05/06/24       23:45:29
                                                                                      number (If known) 24-80043Desc
                                                                                                                (SGJ) Main
             Name                                         Document     Page 29 of 34
 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims
 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim
3.1   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.2   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.3   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.4   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.5   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.6   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes




  Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 4
              Case 24-80043-sgj11                     Doc 8       Filed 05/06/24 Entered 05/06/24 23:45:29 Desc Main
   Debtor     Eiger BioPharmaceuticals Europe Limited
                                                                 Document                34number (If known): 24-80043 (SGJ)
                                                                              Page 30 ofCase
              Name



Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


                                                                                                                                                           Last 4 digits of
         Name and mailing address                                                                            On which line in Part 1 or Part 2 is the
                                                                                                                                                           account number, if
                                                                                                             related creditor (if any) listed?
                                                                                                                                                           any

 4.1                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.2                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.3                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.4                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.5                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.6                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.7                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.8                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.9                                                                                                         Line

                                                                                                             ¨ Not listed. Explain




   Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 4
 Debtor
                Case 24-80043-sgj11
               Eiger BioPharmaceuticals Europe Limited
                                                         Doc 8    Filed 05/06/24 Entered 05/06/24      23:45:29 Desc Main
                                                                                            Case number (If known) 24-80043 (SGJ)
               Name
                                                                 Document     Page 31 of 34

     Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a.     Total claims from Part 1                                                                       5a.        $                         0.00




5b.     Total claims from Part 2                                                                       5b.    +   $                         0.00




5c.     Total of Parts 1 and 2                                                                         5c.        $                         0.00
        Lines 5a + 5b = 5c.




      Official Form 206E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                        Page 4 of 4
              Case 24-80043-sgj11                       Doc 8          Filed 05/06/24 Entered 05/06/24 23:45:29                      Desc Main
  Fill in this information to identify the case: Document                          Page 32 of 34

  Debtor name      Eiger BioPharmaceuticals Europe Limited

  United States Bankruptcy Court for the:   Northern District of Texas, Dallas Division
                                                                                                                                        ¨ Check if this is an
  Case number (If known):      24-80043 (SGJ)                                                                                               amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
     ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
     þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                                Letter Agreement
         State what the contract or                                                        MENZIES LLP
 2.1     lease is for and the nature                                                       HEATHROW BUSINESS CENTRE
         of the debtor’s interest                                                          65 HIGH STREET
                                                                                           EGHAM, TW20 9EY
         State the term remaining                                                          UNITED KINGDOM

         List the contract number of
         any government contract

                                                Commercial Package Policy - Effective
         State what the contract or             as of 11/18/2023                           TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA
 2.2     lease is for and the nature                                                       ONE TOWER SQUARE, 2GSA
         of the debtor’s interest                                                          HARTFORD, CT 06183

         State the term remaining
         List the contract number of
         any government contract

                                                Commercial Management Liability
         State what the contract or             Insurance - Effective as of 3/22/2023      XL INSURANCE COMPANY SE (IRISH BRANCH)
 2.3     lease is for and the nature                                                       FINANCIAL LINES CLAIMS MANAGER
         of the debtor’s interest                                                          8 ST. STEPHEN'S GREEN
                                                                                           DUBLIN 2, D02 VK30
         State the term remaining                                                          IRELAND (EIRE)

         List the contract number of
         any government contract



         State what the contract or
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract



         State what the contract or
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                    Page 1 of 1
             Case 24-80043-sgj11                        Doc 8
                                                  Filed 05/06/24 Entered 05/06/24 23:45:29                                                         Desc Main
  Fill in this information to identify the case:
                                                 Document     Page 33 of 34

 Debtor name      Eiger BioPharmaceuticals Europe Limited

 United States Bankruptcy Court for the:    Northern District of Texas, Dallas Division
                                                                                                                                                    ¨ Check if this is an
 Case number (If known):      24-80043 (SGJ)                                                                                                            amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                             12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
additional Page to this page.

   1. Does the debtor have any codebtors?
       þ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       ¨ Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                                Column 2: Creditor

          Name                             Mailing address                                                                  Name                      Check all schedules
                                                                                                                                                      that apply:
 2.1                                                                                                                                                  ¨ D
                                                                                                                                                      ¨ E/F
                                                                                                                                                      ¨ G



 2.2                                                                                                                                                  ¨ D
                                                                                                                                                      ¨ E/F
                                                                                                                                                      ¨ G



 2.3                                                                                                                                                  ¨ D
                                                                                                                                                      ¨ E/F
                                                                                                                                                      ¨ G



 2.4                                                                                                                                                  ¨ D
                                                                                                                                                      ¨ E/F
                                                                                                                                                      ¨ G



 2.5                                                                                                                                                  ¨ D
                                                                                                                                                      ¨ E/F
                                                                                                                                                      ¨ G



 2.6                                                                                                                                                  ¨ D
                                                                                                                                                      ¨ E/F
                                                                                                                                                      ¨ G




Official Form 206H                                                            Schedule H: Codebtors                                                         Page 1 of 1
            Case 24-80043-sgj11                       Doc 8  Filed 05/06/24 Entered 05/06/24 23:45:29                              Desc Main
                                                         Document
  Fill in this information to identify the case and this filing:
                                                                         Page 34 of 34

   Debtor name Eiger BioPharmaceuticals Europe Limited


   United States Bankruptcy Court for the: Northern District of Texas, Dallas Division

   Case number (If known) 24-80043 (SGJ)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

           Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
        þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        þ Schedule H: Codebtors (Official Form 206H)
        þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ¨ Amended Schedule
        ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        ¨ Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 05/06/2024                                         X /s/ Douglas Staut
                       MM / DD / YYYY                                     Signature of individual signing on behalf of debtor



                                                                            Douglas Staut
                                                                          Printed name

                                                                            Chief Restructuring Officer
                                                                          Position or relationship to debtor




   Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
